 8:16-cr-00187-RFR-MDN               Doc # 32    Filed: 08/10/16    Page 1 of 1 - Page ID # 43




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:16CR187

       vs.
                                                                        ORDER
TEARA LYNNE VORIS,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND TIME TO FILE
PRETRIAL MOTIONS [31]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 7-day extension. Pretrial Motions shall be filed by
August 16, 2016.
       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS
[31] is granted. Pretrial motions shall be filed on or before August 16, 2016.
       2.      The defendant is ordered to file the affidavit required by NECrimR 12.1(a)
regarding speedy trial as soon as practicable.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between August 9, 2016 and August 16, 2016, shall
be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel required additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 10th day of August, 2016

                                                      BY THE COURT:
                                                      s/ F.A. Gossett, III
                                                      United States Magistrate Judge
